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 1    Dean Gazzo Roistacher LLP
      Mitchell D. Dean, Esq. (SBN 128926)
 2    Adrian M. Paris, Esq. (SBN 301355)
      440 Stevens Avenue, Suite 100
 3    Solana Beach, CA 92075
      Telephone: (858) 380-4683
 4    Facsimile: (858) 492-0486
      E-mail:     mdean@deangazzo.com
 5                 aparis@deangazzo.com
 6    Attorneys for Defendant
      City of Banning
 7
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10    MEGAN REEVES,                           Case No.: 5:22-CV-02021-SB-MRW
11                  Plaintiff,                ANSWER OF DEFENDANT CITY
                                              OF BANNING TO PLAINTIFF’S
12             v.                             COMPLAINT
13    RIVERSIDE COUNTY SHERIFF'S              Judge: Stanley Blumenfeld, Jr.
      DEPARTMENT, BANNING                     Magistrate: Michael L. Wilner
14    POLICE DEPARTMENT.
      BEAUMONT POLICE                         Complaint filed: November 9, 2022
15    DEPARTMENT. CITY OF                     Trial Date: None set
      BANNING, CITY OF
16    BEAUMONT. DEPUTY JOHN
      DOES #1 -8 (official and individual
17    capacities),
18                  Defendants.
19
20         Defendant City of Banning (“Defendant”), answers plaintiff’s Complaint
21   (“Complaint”) as follows:
22         1.       Answering Section I, paragraph A of the Complaint, Defendant does
23   not have sufficient knowledge or information to admit or deny these allegations
24   and on that basis deny.
25         2.       Answering Section I, paragraph B of the Complaint, Defendant
26   admits.
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 1         3.     Answering Section II, paragraph B of the Complaint, Defendant avers
 2   that the allegations of said paragraph state a legal conclusion and do not contain
 3   any substantive or factual allegations against Defendants. Thus, no response is
 4   required. However, to the extent that this paragraph contains substantive or factual
 5   allegations, Defendant denies each and every allegation contained therein.
 6         4.     Answering Section II, paragraph C of the Complaint, Defendant avers
 7   that the allegations of said paragraph state a legal conclusion and do not contain
 8   any substantive or factual allegations against Defendants. Thus, no response is
 9   required. However, to the extent that this paragraph contains substantive or factual
10   allegations, Defendant denies each and every allegation contained therein.
11         5.     Answering Section II, paragraph D of the Complaint, Defendant avers
12   that the allegations of said paragraph state a legal conclusion and do not contain
13   any substantive or factual allegations against Defendants. Thus, no response is
14   required. However, to the extent that this paragraph contains substantive or factual
15   allegations, Defendant denies each and every allegation contained therein.
16         6.     Answering Section III, paragraph A of the Complaint, Defendant
17   admits.
18         7.     Answering Section III, paragraph B of the Complaint, Defendant
19   admits.
20         8.     Answering Section III, paragraph C of the Complaint, Defendant
21   denies these allegations.
22         9.     Answering Section IV of the Complaint, Defendant denies these
23   allegations and/or that plaintiff is entitled to any form of relief and/or damages.
24         10.    Answering Section V of the Complaint, Defendant denies these
25   allegations and/or that plaintiff is entitled to any form of relief and/or damages.
26                                AFFIRMATIVE DEFENSES
27         As for separate and distinct affirmative defenses, Defendant alleges as
28   follows:
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 1                              FIRST AFFIRMATIVE DEFENSE
 2         11.      The Complaint fails to state a claim against the Defendant upon which
 3   relief may be granted.
 4                            SECOND AFFIRMATIVE DEFENSE
 5         12.      Any loss or damages sustained by plaintiff(s) were in whole or in part
 6   due to the acts or omission by plaintiff(s), and plaintiff(s)’s award, if any, should
 7   be reduced by his or her proportional share of negligence, fault, recklessness, or
 8   unlawful conduct.
 9                             THIRD AFFIRMATIVE DEFENSE
10         13.      At all relevant times, the individual Defendants acted within their
11   scope of discretion, with due care, and good faith fulfillment of responsibilities
12   pursuant to the applicable statutes, rules and regulations within the bounds of
13   reason, and with the good faith belief that their actions comported with al
14   applicable federal and state laws. Harlow v. Fitzgerald 457 U.S. 800 (2007).
15   Saucier v. Katz 533 U.S. 194 (2001).
16                            FOURTH AFFIRMATIVE DEFENSE
17         14.      Plaintiff failed to mitigate her damages and should be barred from
18   recovery of such amounts.
19                              FIFTH AFFIRMATIVE DEFENSE
20         15.      Defendant alleges that if any damages were sustained by plaintiff, the
21   damages were proximately caused by the acts and/or omission of others over
22   whom defendant exercises no control and for whose acts the defendant are not
23   responsible.
24                              SIXTH AFFIRMATIVE DEFENSE
25         16.      Defendant alleges that plaintiff’s complaint fails to state facts
26   sufficient to set forth a claim for punitive damages against the Defendant.
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 1                          SEVENTH AFFIRMATIVE DEFENSE
 2         17.    Defendant acted in good faith without malice, and upon a reasonable
 3   belief that their conduct was lawful and necessary.
 4                           EIGHTH AFFIRMATIVE DEFENSE
 5         18.    Defendant is not liable for injuries resulting from acts or omissions
 6   which were an exercise of their discretion.
 7                            NINTH AFFIRMATIVE DEFENSE
 8         19.    Defendants were acting on a good faith and reasonable belief that the
 9   acts complained of occurred within the scope of the Defendant officer’s official
10   duties and they had no knowledge that the alleged wrongful acts, if any, were
11   illegal and/or unconstitutional nor were said alleged wrongful acts, if any, clearly
12   a violation of plaintiff’s rights at the time they were committed.
13                            TENTH AFFIRMATIVE DEFENSE
14         20.    Defendants allege that plaintiff has failed to bring this action in a
15   timely manner and has otherwise failed to maintain this action within the
16   applicable statute of limitations periods.
17                         ELEVENTH AFFIRMATIVE DEFENSE
18         21.    Defendant City of Banning is not liable for plaintiffs’ injuries or
19   damages as its policies, customs and practices were constitutional, lawful,
20   reasonable and/or not a direct or proximate cause of injury to plaintiff.
21                          TWELFTH AFFIRMATIVE DEFENSE
22         22.    Defendant is informed and believe that each and every act or omission
23   of the Defendants were made or done in good faith and in the reasonable belief in
24   the necessity or propriety of such act or omission for the proper execution and
25   enforcement of the law and Defendants are not liable for any act or omission
26   resulting from the use of due care in the execution or enforcement of the law.
27   ///
28   ///
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 1                       THIRTEENTH AFFIRMATIVE DEFENSE
 2         23.    Defendant alleges that plaintiff’s claims are barred by the equitable
 3   doctrines of estoppel, laches and/or unclean hands.
 4                       FOURTEENTH AFFRIMATIVE DEFENSE
 5         24.    The police officers employed by this answering defendant are
 6   immune from liability base on qualified immunity because either they did not
 7   violate the Fourth Amendment rights of this plaintiff’s decedent, or else the law
 8   was not clearly established.
 9                     FIFTEENTH AFFRIMATIVE DEFENSE
10         25.    Defendant currently has insufficient knowledge or information upon
11   which to determine whether additional affirmative defenses may be available to it
12   which have not yet been asserted in this answer, and therefore reserve the right to
13   assert additional affirmative defenses upon subsequent discovery, investigation,
14   and analysis.
15                                  PRAYER FOR RELIEF
16         WHEREFORE, Defendant prays as follows:
17         1.     That plaintiff takes nothing by her Complaint;
18         2.     That Defendant be awarded its attorneys’ fees and costs of suit;
19         3.     That the sole liability of this Defendant, if any, be limited in
20   proportion to the degree of fault attributable to the answering Defendant; and
21         4.     For such other and further relief as the court deems just and proper.
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 1                               DEMAND FOR JURY TRIAL
 2         NOTICE IS HEREBY GIVEN that Defendant City of Banning demands
 3   a jury trial in the above-entitled action pursuant to the provisions of Rule 38(b)(1)
 4   of the Federal Rules of Civil Procedure.
 5    Dated: December 19, 2022                       Dean Gazzo Roistacher LLP
 6
                                                By: /s/ Mitchell D. Dean
 7                                                   Mitchell D. Dean
                                                     Adrian M. Paris
 8
                                                     Attorneys for Defendant
 9                                                   City of Banning
10                                                   Email: mdean@deangazzo.com
                                                             aparis@deangazzo.com
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